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                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                         ) CR-18-00258-EJD (SVK)
                                                       )
15           Plaintiff,                                ) JOINT STATUS MEMORANDUM
                                                       )
16      v.                                             )
                                                       )
17   ELIZABETH HOLMES and                              )
     RAMESH “SUNNY” BALWANI,                           )
18                                                     )
             Defendants.                               )
19                                                     )
                                                       )
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             On October 12, 2018, the Court issued an Order Denying Defendants’ Motion for Order
21
     Directing Government to Cease And Desist Post-Indictment Use of the Grand Jury Process. ECF No.
22
     54. In the order, the Court directed the parties to meet and confer upon procedures for a privilege
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     review of Theranos’ September 14, 2018 production. On October, 19, 2018, counsel for the parties met
24
     and conferred telephonically. Counsel for the United States advised counsel for the defendants that it is
25
     in the process of forming a “taint or filter” team to review the production for information subject to a
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     privilege belonging to defendants. The parties further agreed that the taint or filter team will solicit
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     input from defense counsel regarding search terms and additional procedures that should be employed.
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     JOINT STATUS MEMORANDUM
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 1 The parties further agreed that, before any documents from the September 14, 2018 production are

 2 produced to the government’s trial team, the taint or filter team will provide notice to counsel for the

 3 defendants of the documents to be produced and sufficient opportunity to raise any specific objections

 4 with the Court. To date, no disagreements have arisen with respect to the procedures for a privilege

 5 review.

 6 DATED: October 22, 2018                                Respectfully submitted,

 7                                                        ALEX G. TSE
                                                          United States Attorney
 8

 9
                                                          /s/
10                                                        JEFF SCHENK
                                                          JOHN C. BOSTIC
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12

13 DATED: October 22, 2018

14

15
                                                          KEVIN DOWNEY
16                                                        LANCE WADE
                                                          Attorneys for Elizabeth Holmes
17

18

19 DATED: October 22, 2018

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21
                                                          JEFF COOPERSMITH
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                                                          Attorneys for Ramesh “Sunny”
23                                                        Balwani
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     JOINT STATUS MEMORANDUM
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